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 8                                IN THE UNITED STATES DISTRICT COURT
 9                                 EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                        ) 2:11-CR-00216-MCE
                                                      )
12               Plaintiff,                           )
                                                      ) APPLICATION AND ORDER FOR MONEY
13   v.                                               ) JUDGMENT
                                                      )
14   TIFFANY TUNG,                                    )
                                                      )
15               Defendant.                           )
                                                      )
16                                                    )
17          On July 10, 2014, defendant Tiffany Tung entered a guilty plea to the only count in the
18   superseding information, a misdemeanor violation of 18 U.S.C. § 215.
19          As part of his plea agreement with the United States, defendant Tiffany Tung agreed to forfeit
20   voluntarily and immediately up to $3,000.00, less any forfeited funds, as a personal money judgment
21   pursuant to Fed. R. Crim. P. 32.2(b)(1), which reflects a reasonable compromise between the parties
22   for forfeiture purposes concerning the proceeds the defendant obtained as a result of a violation of 18
23   U.S.C. § 215, to which she has pled guilty. See Defendant Tung’s Plea Agreement ¶ II.F. Plaintiff
24   hereby applies for entry of a money judgment as follows:
25          1.      Pursuant to 18 U.S.C. § 982(a)(2), 28 U.S.C. § 2461(c), and Fed. R. Crim. P.
26   32.2(b)(1), the Court shall impose a personal forfeiture money judgment against defendant Tiffany
27   Tung in the amount of $3,000.00.
28          2.      The above-referenced personal forfeiture money judgment is imposed based on

                                                                         Application and Order for Money Judgment
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 1   defendant Tiffany Tung’s conviction for violating 18 U.S.C. § 215 (The only count in the
 2   Superseding Information). Said amount reflects a reasonable compromise between the parties for
 3   forfeiture purposes concerning the proceeds the defendant obtained, which the defendant agreed is
 4   subject to forfeiture based on the offense of conviction. Any funds applied towards such judgment
 5   shall be forfeited to the United States of America and disposed of as provided for by law.
 6          3.      Payment of the personal forfeiture money judgment should be made in the form of a
 7   cashier’s check made payable to the Department of the Treasury and sent to the U.S. Attorney’s Office,
 8   Attn: Asset Forfeiture Unit, 501 I Street, Suite 10-100, Sacramento, CA 95814. Prior to the imposition
 9   of sentence, any funds delivered to the United States to satisfy the personal money judgment shall be
10   seized and held by the United States Secret Service, in its secure custody and control.
11   DATED:__8/28/14___                                   BENJAMIN B. WAGNER
                                                          United States Attorney
12
13                                                        _/s/ Matthew G. Morris
                                                          MATTHEW G. MORRIS
14                                                        Assistant U.S. Attorney
15
16                                                   ORDER
17          For good cause shown, the Court hereby imposes a personal forfeiture money judgment against
18   defendant Tiffany Tung in the amount of $3,000.00. Any funds applied towards such judgment shall be
19   forfeited to the United States of America and disposed of as provided for by law. Prior to the imposition
20   of sentence, any funds delivered to the United States to satisfy the personal money judgment shall be
21   seized and held by the United States Secret Service, in its secure custody and control.
22
23          IT IS SO ORDERED.

24   Dated: September 2, 2014

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                                                                         Application and Order for Money Judgment
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